         IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF GEORGIA
                   ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                              Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

       COALITION PLAINTIFFS’ BRIEF IN RESPONSE
          TO COURT ORDER (DOCUMENT 900)
      In this Brief, the Coalition Plaintiffs will address the three issues raised by

the Court in its September 15, 2020 Order (Doc. 900).      The Coalition Plaintiffs

further move for leave to exceed the page limit by one page.

      A. Alternative Relief Based on State’s Emergency Ballot Process

      Coalition Plaintiffs join and incorporate by reference the Curling Plaintiff’s

brief to address whether uniformly implemented hand marked paper-ballot relief

under the provisions of the emergency ballot process as an alternative to a

wholesale switch to hand-marked paper ballots might productively be granted. The

answer is that indeed the emergency ballot provisions provide adequate structure

and administrative guidance for the conduct of a constitutional election using hand

marked paper ballots. The emergency balloting provisions of Ga. Comp. R. &

Regs. 183–1–12–.11.2(c) and (d) are effectively the codification of this Court’s

Order (Doc. 578 at 148) for a default back up plan in the event of the failure to

successfully and fully deploy a BMD system that meets constitutional muster, --a

default plan successfully piloted by Cobb County for early voting and Election

Day in November 2019. Now facing the very circumstances for the November

election that this Court and Plaintiffs feared, invoking the backup default plan of

emergency balloting is an appropriate remedy for the November election and

related runoffs, and the solution instructed by the General Assembly (O.C.G.A. ¶

21-2-281), the State Election Board, and this Court (Doc. 578 at 148).
       Implementing the emergency ballot rule with advance notice to all polling

places for the November election and related runoffs is effective relief for

addressing Georgia’s constitutional violations of ballot security, accountability,

ballot secrecy and permits the auditing of the election outcome. Further, the

emergency and back up default provisions will help establish a more orderly

election, reducing the disruption to the voting process being caused by the State’s

rushed, incomplete deployment and lack of readiness of a new voting system,

bound to escalate the havoc and voter confusion and irreparable harm on without

the Court’s intervention.

       Contrary to Defendants’ closing argument that hand marked paper ballots

would require a rewrite of the election code, (Sept. 14 Vol . p. 159, line 5 )

Georgia’s election code has long-standing detailed provisions for the

administration of paper ballot elections in O.C.G.A. Title 21, Chapter 2, Articles 8

and 9 (Part 4), successfully used in Cobb County’s November 2019 pilot election

for early and Election Day voting, and routinely in some Georgia municipalities.1

       Fulton County Election Director Richard Barron testified that a Fulton

County switch to hand marked paper ballots for Election Day would result in time


1Defendants have argued that conducting the most basic minimum functional BMD Logic and
Accuracy testing in compliance with the statute (O.C.G.A. §21-2-379.25(c)) is impractical and
too burdensome, (Doc.834 at 27), which alone should require the emergency use of hand marked
paper ballots, as should the Defendants’ lack of any current solution to protect Plaintiffs’
constitutional rights to ballot secrecy.


                                           PAGE 2
savings over using BMDs. If the State’s largest county can accomplish paper-ballot

voting on Election Day, then so too can Georgia’s other 158 counties. For early

voting, the reservations that Mr. Barron expressed do not apply to most of

Georgia’s other counties. Approximately 120 of Georgia’s counties have a single

early voting center at the superintendent’s office where all ballot styles are already

successfully managed both for mailing and for emergency ballot use. After all, the

State’s emergency ballot process does not apply only on Election Day. Instead, the

rule provides for the use of paper ballots anytime an “emergency situation” arises

during in-person voting—i.e., during early voting as well as on Election Day. See

Ga. Comp. R. & Regs. 183–1–12–.11.2(d); see also Doc. 800-3, at 16 (Hr’g Ex.

PX 53 (Secretary’s guidance for “Using Emergency Paper Ballots”)). Most

counties will be able to issue hand marked paper ballots during early voting

without any difficulties at all. If emergency balloting is mandated only for Election

Day, the Court need only restrain the State from stopping the counties from

adopting emergency balloting in early voting (as the State previously did in the

case of Athens Clarke County when BMD ballot secrecy could not be provided.)

      B. Feasibility – Response to State Defendants’ Response (Doc. 895).

      This Court has been asking the State Defendants why they cannot provide

updated paper pollbook backups since at least December, 2019, and still has

received no coherent response. The State Defendants have vacillated between two


                                        PAGE 3
completely contradictory positions: that they already provide the requested

backups and, most recently, that providing the requested backups would be hard

but not impossible. This is completely unacceptable. The State Defendants have

no response at all to the mountain of evidence establishing that the malfunctioning

of their electronic Pollpads disenfranchised voters in the June 2020 primaries and

is likely to continue disenfranching voters in future elections. Yet they have done

nothing to fix the problem.

      The State Defendants’ most recent submission – which they were unable to

provide during the hearing despite the Court’s specific request – is more of the

same. Defendant counsel addresses whether E-NET can generate such a report,

not whether the State generally had the practical capability to prepare an updated

file for printing. Defendants’ response ignores the fact that the new KnowInk e-

Pulse system itself has an advertised featured for printing an updated paper

pollbook, “minutes before an election,” (Doc. 755 at 16, Marks Declaration ¶ 38)

that list can be as current as, or even more current than the electronic PollPads

used now as the required “electors list.” Based on the description of the KnowInk

e-Pulse product capability, the printed pollbook would have identical data to the

PollPads and not require the generation and review of multiple lists as the State

Defendants argue would be required using E-Net reports. KnowInk’s PollPad

capability to provide even mid-election day updated printed pollbooks is required


                                        PAGE 4
by its customer New Hampshire, a capability within the KnowInk product is

available. (See Exhibit A page 6, from https://sos.nh.gov/electronic-poll-books/ ).

      Enough is enough. Without paper pollbook backups, the continuing

problems with the KnowInk Pollpads will cause even longer lines in the upcoming

November election. The State Defendants should be ordered to provided updated

paper pollbook backups: it can do so using E-Net reports or the KnowInk

application discussed above.

      C. Court’s Authority to Grant Relief

      The Court has the authority to grant the requested relief relating to updated

paper pollbook backups both under the pleadings and motions in this case and as a

further ruling on the Coalition Plaintiffs’ Motion for Rule 59(e) modification to

this Court’s August 15, 2019 Order (Doc. 579).

      The State Defendants, citing De Beers Consol. Mines, Ltd. v. United States,

325 U.S. 212 (1945), contend that injunctive relief relating to pollpads is not

appropriate because it is of a different nature “as that to be finally granted” “and

exceeds any relief sought by any operative complaint in this case.” (Doc. 895 at

5). This argument is not correct for the following reasons. In De Beers, the

Supreme Court reversed a District Court order freezing the assets of the defendant

pending trial of an antitrust case in which the United States sought only

prospective injunctive relief. The Supreme Court reversed, holding that federal


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courts’ equitable powers do not extend to granting preliminary injunctive relief that

is of an entirely different character than the permanent relief sought. The De Beers

case is not on point.2 In this case, the preliminary relief that Plaintiffs’ seek – an

injunction – is exactly the same character as the permanent relief that Plaintiffs’

seek – also an injunction.

       Moreover, this Court has authority to grant the requested relief pursuant to

the pleadings and the motions filed by the Coalition Plaintiffs. In both the Third

Amended Complaint and the Supplemental Complaint, the Coalition Plaintiffs

include electronic pollbooks in the defined term of the voting system that is alleged

to be unconstitutionally insecure, (Doc. 160-1 ¶ 59; Doc. 628 ¶¶ 70-71, 189; see

also Doc. 640 at 2, n. 1 (explaining inclusion of Electronic Pollpads within scope),

and make extensive allegations concerning the insecurity of the State’s voter

registration system. In addition, the relief that the Coalition Plaintiffs seek in this

motion (Doc. 800) is nearly identical to the relief sought in prior motions. (Doc.

419, Doc. 640). The State Defendants defended the prior motions without

suggesting that they were beyond the scope of the pleadings. In any event, upon

the trial of this case on the merits, the Coalition Plaintiffs would be entitled to an

amendment of the pleadings – if necessary – to conform to the evidence, including


2
 See Rosen v. Cascade Intern., Inc., 21 F.3d 1520 (11th Cir. 1994) (Tjoflat, J.) (explaining De
Beers).


                                              PAGE 6
an amendment to the equitable relief sought. See Fed. R. Civ. 15(b); Developers

Sur. and Indem. Co v. Bi-Tech Const. Inc., 979 F. Supp. 2d 1307 (S.D. Fla. 2013)

(citing cases).

      Finally, the Court has already ruled that paper backups for the electronic

pollbooks are a proper remedy in this case to address the allegations in the

operative complaints. In its August 15, 2019 Order, this Court ordered “State

Defendants should require all County Election Officials to furnish each precinct

with a least one printout of the voter registration list.” (Doc. 579 at 150). The

Coalition Plaintiffs’ September 12, 2019 Rule 59(e) Motion asked the Court to

modify its Order to required an updated paper pollbook backup, rather than a voter

registration list, so that pollworkers would have the information necessary to check

a voter in on Election Day. In denying Coalition Plaintiffs’ Motion, the Court

stated:

      The Court is potentially willing to consider this request for subsequent
      election cycles but only after hearing more concretely from the State
      regarding pragmatic implementation issues at a short conference or
      hearing.

The Coalition Plaintiffs’ Motion on the Paper Pollbook Backups, therefore, is a

continuation of the Rule 59(e) Motion and the Court’s ruling thereon.




                                       PAGE 7
    This 16th day of September, 2020.

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E
BRAD RAFFENSPERGER, ET AL.,
Defendants.

             CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that on September 16, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record. In addition,

pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                                 /s/ Bruce P. Brown
                                                 Bruce P. Brown




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E
X
H
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B
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T


A
     Response to:
  New Hampshire
Electronic Poll Book
      System
    Request for
 Information V 0.1
              New Hampshire Electronic Poll Books System             Request for Information


                                            Cross-Reference Table
             This section gives a table of all indicative requirements in this document along with their page
             numbers. Vendors are encouraged to state whether they can comply or suggest alternate means of
             accomplishing the implied goal. To enable comments in the fields below, this RFI has been
             provided in both MS word and PDF format.

     Title and Identifier         Page       Compliance:      Comments on Potential Requirement
                                  Number     Yes/No

     AR-1: At least (8) eight     31              Yes         Our EPBS concurrently supports 8 live EPBs in a
     EPBs in an EP BS; (1 2) if                               singular location, or 12 EPBs if supporting election day
     adding new voters.                                       registrants. The function ofthe EPBs remains
                                                              unaffected in the instance of any singular unit(s)
                                                              becoming inoperable.

     AR-2: No single point of     31              Yes         EPBS avoids single point of failure by utilizing
     failure.                                                 redundancies in any scenario where a single point of
                                                              failure would be considered a risk.

     AUR-1: Audit log.            35              Yes         Our EPBS is auditable and maintains an audit log.




c    AUR-2: Log voter
     registration record
     queries and updates.
                                  35              Yes         The audit log retains time stamped queries and updates
                                                              to voter records by any authorized user.


     AUR-3: Log user actions.     35              Yes         The audit log retains time stamped records of actions
                                                              performed by any authorized user. The audit log can be
                                                              customized to flag and time stamp records for additional
                                                              user actions.

     AUR-4: Log system            36              Yes         The audit log retains time stamped records of system
     deviations.                                              deviations . The audit log can be customized to flag and
                                                              time stamp records for additional deviations from
                                                              expected system behavior.

     AUR-5: Printable audit       36              Yes         Our Audit Log is printable.
     log.

     AUR-6: Exportable audit      36              Yes         Our Audit Log can be exported via external , removable
     log.                                                     storage device.

     AUR-7: No audit log          36              Yes         Our Audit Log is not encrypted. It is exportable in a
     encryption.                                              plain text format.
()

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        New Hampshire Electronic Poll Books System         Request for Information


Title and Identifier          Page     Compliance:   Comments on Potential Requirement
                              Number   Yes/No                                                                 Q
AUR-8: Audit log format       36           Yes       Documentation in regards to the Poll Pad Audit log is
compliance.                                          available. KNOWiNK can provide audit log definitions
                                                     document.

DOCR-1: Set up, use,          37           Yes       Documentation with complete instructions for use of
and shutdown                                         our EPBS can be provided.
instructions.

DOCR-2: Functionality         37           Yes       Documentation including specification of implemented
specification.                                       system functionality can be provided.

DOCR-3: Training              37           Yes       KNOWiNK produces client specific training materials
materials.                                           as specified, and offers hands on training support for
                                                     new jurisdictions.

DOCR-4: Data recovery         37           Yes       Documentation pertaining to data recovery options can
procedures.                                          be provided.

DOCR-5.1: System              38           Yes       Documentation of the EPBS including an architectural
architecture.                                        model can be provided.

DOCR-5.2: End user            38           Yes       End user documentation and training materials is
                                                                                                              IO
documentation.                                       supplied to each client.

DOCR-5.3: System level        38           Yes       KNOWiNK can submit documentation to satisfy thjs
documentation.                                       requirement.

DOCR-5.4: Developer           38           Yes       KNOW iNK can submit documentation to satisfy th is
documentation.                                       requirement.

DOCR-6: Consumables           38           Yes       KNOW iNK can submit documentation to satisfy tills
documentation.                                       requirement.

DOCR-7: Quality               39           Yes       Documentation on quality assurance procedures and test
assurance procedu res, test                          data and reports to satisfy this requirement can be
data, and reports.                                   provided.

DOCR-8: Repair and            39           Yes       KNOW iNK can supply this information prior to the
maintenance policies.                                procurement process.




                                                                                                  42
             New Hampshire Electronic Poll Books System         Request for Information




c   Title and Identifier        Page
                                Number
                                         Compliance:
                                         Yes/No
                                                          Comments on Potential Requirement



    DOCR-9: Audit log           39            Yes         Documentation in regards to the Poll Pad Audit log is
    specification.                                        available.

    DOCR-10: Usability tests.   39            Yes         Documentation for our EPBS including usability tests
                                                          addressing all aspects of user facing features as
                                                          specified can be provided.

    DOCR-11: List of all        39            Yes         Detailed documentation on program functions and
    EPBS programs.                                        program storage can be provided.

    DOCR-12: List of system     40            Yes         KNOW iNK can submit documentation to satisfy this
    configuration data.                                   requirement.

    DOCR-13: User               40            Yes         Extensive UI documentation and end user training
    interfaces.                                           materials will be provided.

    DOCR-14: Non-               40           Yes          KNOW iNK can submit documentation to satisfy this
    functional (potential)                                requirement.
    requirements

c   documentation.

    DOCR-15: List of files      40           Yes          KNOW iNK can submit documentation to satisfy this
    containing voter                                      requirement.
    information.

    DOCR-16: File format        40           Yes          KNOWiNK can submit documentation to satisfy this
    specification.                                        requirement.

    FR-1: Adding a new          21            Yes         Additional EPBs may be introduced to the EPBS at any
    EP B to the EP BS.                                    time during or outside of the voting period per the
                                                          specifications of this requirement.

    FR-2: Removing an           21            Yes         EPBs may be removed from the EPBS at any time
    EPB from the EPBS.                                    during or outside of the voting period per the
                                                          specifications of this requirement..

    FR-3: Identifying an        21            Yes         Every EPB is uniquely identified and can be uniquely
    EPB.                                                  identified by system components as specified.

    FR-4: Restricted access     21            Yes         Our EPBS does not permit access to information outside
    to voter information.                                 of local voter database.

c
                                                                                                      43
         New Hampshire Electronic Poll Books System         Request for Information

                                                                                                       -
Title and Identifier        Page
                            Number
                                       Compliance:
                                       Yes/No
                                                      Comments on Potential Requirement
                                                                                                                       p
FR..s: Constrained data     22              Yes       The 8PB can be restricted to store data as outlined in
storage.                                              referenced requirements.
                                                                                                 ---
FR-6: Voter list storage.   22              Yes       A copy of the voter list may be stored locally and on the
                                                      removable storage unit.
                                                                                                 -
FR-7: Voter information     22              Yes       The Poll Pad EPB is able to look up voters as specified.
lookup.

FR-8: Voter information     22              Yes       The EPB allows modifications in the local voter
updates.                                              database per requirements specified, and is
                                                      customizable to include future flags.

FR-9: Generating and        23              Yes       Thermal printer supports these criteria as specified.
printing reports.
..   -    -~-                        - ..    -                                                                    -·




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              New Hampshire Electronic Poll Books System           Request for Information




c    Title and Identifier             Page
                                      Number
                                               Compliance:
                                               Yes/No
                                                             Comments on Potential Requirement



     FR-10: The electronic poll       23           Yes       Customization and thermal printer supports these
     book must maintain a                                    criteria as specified.
     printable format of the
     voter list (voter registration
     record and plus voter
     activity record)
     {(potential) requirement
     Type: mandatory}

     Description: It must be
     possible to continue with
     an election should the
     electronic poll book system
     become inoperable. To that
     end, the electronic poll
     book must maintain a
     printable checklist format
     of the voter list on
     removable storage,

G record
  reflecting voter activity
          to that moment.

     Ref: New Hampshire
     RSA 654:25, RSA
     659:13, RSA 659:14,
     RSA 659:102.

     FR-11: Deliberately Left
     Blank.




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Title and Identifier          Page
                              Number
                                       Compliance:
                                       Yes/No
                                                     Comments on Potential Requirement
                                                                                                     p
FR-12: User accounts.         24           Yes       Our EPBS can be customized to meet these
{(potential) requirement                             requirements as specified.
Type: mandatory}

Description: The
electronic poll book system
must permit an
administrator to manage
user accounts within its
configuration. This
includes adding and
disabling user accounts,
and setting user roles for
existing accounts.

Ref: None




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            New Hampshire Electronic Poll Books System         Request for Information




c   Title and Identifier         Page
                                 Number
                                          Compliance:
                                          Yes/No
                                                         Comments on Potential Requirement



    FR-12: User accounts.                     Yes        Our EPBS meets or can be customized to meet the
    {(potential) requirement                             elements of these requirements as specified.
    Type: mandatory}

    Description: The
    electronic poll book
    system must permit an
    administrator to manage
    user accounts within its
    configuration. This
    includes adding and
    disabling user accounts,
    and setting user roles for
    existing accounts.

    Ref: None

    FR-13: RSA Chapter

c   654 and 659
    requirements. See Ballot
    Clerk Procedures for State
    Primary and General
    Election

    FR-14: System event          24           Yes        Our EPBS meets these requirements as specified.
    confirmation.

    FR-15: Diagnostics           25           Yes        KNOWiNK' s EPBS allows for password protected
    mode.                                                diagnostic mode functions as specified.

    FR-16: Program               25           Yes        Managed settings and guided access prevent any other
    execution.                                           program from running on our EPBS.

    FR-17: Printing voter        25           Yes        Printable list from thermal printer can be customized to
    list.                                                meet New Hampshire ' s specifications.

    FR-18: Retaining voter       25           Yes        KNOW iNK' s EPBS allows for authorized users to
    information.                                         extract and retain all voter information from the EPBS




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        New Hampshire Electronic Poll Books System         Request fo r Information


Title and Identifier       Page   Compliance:
                           Number Yes/No
                                                     Comments on Potential Requirement
                                                                                                               p
FR-19: Compatibility       26            Yes         KNOWiNK satisfies this requirement.
with SVRS.

FR-20: As a part of the    26            Yes         Our EPBS requires an authorized user to confirm they
local voter database                                 are importing intended local voter database and
import, the electronic                               overwriting what is currently stored on the EPB.
poll book system must
require the user to
confirm that they are
importing the intended
local voter database

                           26            Yes         Duplicate voting is prevented in KNOWiNK's EPBS.
                                                     A check-in may be cancelled by an authorized
                                                     administrator in the case that the wrong voter has
                                                     checked in, or the voter flees.
FR-21: One voter/ one
vote within EPBS.

FR-22: Local voter
database import.
                           26            Yes         Our EPBS enables the import of local voter database
                                                     through a removable hardware interface.
                                                                                                               0
FR-23: Local voter         26            Yes         Our EPBS enables the export of local voter database
database export.                                     through a removable hardware interface.

FR-24: Supplemental        27            Yes         Supplemental import functions can be disabled for New
local voter database.                                Hampshire within our EPBS.

FR 25: Deliberately left   27            N!A         N/A
blank.

FR-26: The electronic      27            Yes         KNOWiNK's EPBS can customize particular data to be
poll book must not                                   modified, or as fixed (invariant) data, and will comply
change invariant data                                with New Hampshire state law.




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              New Hampshire Electronic Poll Books System          Request for Information


     Title and Identifier          Page     Compliance:    Comments on Potential Requirement
~                                  Number   Yes/No

     FR-20: As a part of the       19           Yes        In KNOWiNK ' s EPBS, authorized user confirms in the
     local voter database                                  manner FR-20 specifies. Polling place setting may be
     import, the electronic                                confirmed before or after import. User confirms that
     poll book system must                                 the polling place record counts are accurate after
                                                           database import.
     require the user to
     confirm that they are
     importing the intended
     local voter database.

     HIR-1: USB port.              20           Yes        The Poll Pad contains a lighting port that can
                                                           accommodate an iSync drive through which voter
                                                           information can be imported/exported.

     HIR-2: Card reader.           20           Yes        The iPad ' s camera utility has been integrated into the
                                                           Poll Pad application to scan barcodes. Alternatively, a
                                                           magstripe reader can be deployed to scan barcodes for
                                                           voter lookup.

     PR-1: Electronic poll book    28           Yes        KNOWiNK ' s EPBS complies with specified

0    capacity during peak usage.                           requirement.

     PR-2: Voter throughput        28           Yes        KNOWiNK ' s EPBS complies with specified
     per EPB.                                              requirement.

     PR-3: Voter list export.      28           Yes        KNOWiNK ' s EPBS complies with specified
                                                           requirements. Can specify anticipated printing time
                                                           frames per various printer types and town sizes when
                                                           specs are provided in inquiry.

     PR-4: Voter list import.      28           Yes        KNOWiNK ' s EPBS complies with specified
                                                           requirement.

     PR-5: Electronic poll book    28           Yes        KNOWiNK ' s EPBS complies with specified
     system setup.                                         requirement.

     PR-6: Electronic poll book    29           Yes        KNOWiNK's EPBS complies with specified
     boot up and configuration.                            requirement.

     PROCR-1: Vendor to            17           Yes        KNOWiNK can submit the Poll Pad EPBS and the EA
     provide two electronic poll                           Tablet EPBS for review.
C)   book systems.



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Title and Identifier        Page   Compliance:       Comments on Potential Requirement
                            Number Yes/No                                                                          0
PROCR-2: Vendor to          17           Yes         KNOW iNK will provide a current list of clients upon
provide list of                                      the date of application for approval of our EPBS with
customers.                                           the Secretary of the State

PROCR-3: Vendor to          17           Yes         In some lighting environments, overhead lighting will
provide list of known                                cause a glare on the Drivers License and impact its
anomalies.                                           ability to scan. In such instances Manual Search is used
                                                     to locate the appropriate voter record. Poll Pad has
                                                     never had a failure or any issues that impacted its ability
                                                     to accurately capture voter checkins on Election Day.

PROCR-4: Compiling,         18           Yes         Both solutions offered by KNOWiNK are designed to
importing, and                                       be autonomous systems. Involvement from KNOWiNK
exporting local voter                                is not needed unless requested by the jurisdiction.
database.

PROCR-5: Vendor to          18           Yes         KNOWiNK is willing to support and participate in any
provide a pre-use fitness                            pre-use fitness testing deemed sufficient to satisfy this
test for the electronic                              requirement.
poll book system.
                                                                                                                   0
PROCR- 6: Vendor to         17           Yes         KNOWiNK is willing to support and participate in Pilot
suggest trial format that                            elections at the behest of the interested jurisdiction.
enables check ofEPB
accuracy against marked
paper checklist.
PROCR -7: Vendor to         17           Yes         KNOWiNK is willing to support and participate in any
suggest trial format that                            connectivity testing deemed sufficient to satisfy this
enables check ofEPBS in                              requirement.
the event of failure of
electronic components.

RR-1.1: Voter check-in      29           Yes         Connectivity is not required for the completion of the
during interruption of                               voter check-in process.
connectivity.

RR-1.2: Upon restoration    29           Yes         Utilizing our peer-to-peer functionality, the devices
of connectivity.                                     deployed will synchronize to represent the same voter
                                                     list consistency once connectivity is restored.




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c   Title and Identifier      Page
                              Number
                                        Compliance:
                                        Yes/No
                                                         Comments on Potential Requirement



    RR-1.3: Identify double   29             Yes         KNOWiNK's EPBS can be configured to comply with
    voting.                                              specified requirement. Double voting is auditable.

    RR-1.4: Indicate          29             Yes         KNOWiNK's EPBS can be configured to comply with
    interruption of                                      specified requirement.
    connectivity.

    RR-2: Loss of power.      30             Yes         KNOWiNK 's EPBS exceeds this requirement.



    RR-3: Data recovery.      30             Yes         KNOWiNK 's EPBS provides for database data
                                                         recovery, should one ofthe physical memory storage
                                                         components fail. EPB supports importing an exact
                                                         replica of another EPB that failed, essentially becoming
                                                         a mirror image ofthat EPB. Alternatively, if a new
                                                         EPB is introduced into the localized EPBS network at a
                                                         polling place, it will automatically populate with the
                                                         check-in data from the other EPBs.


c   RR-4: Simultaneous data
    storage.
                              30             Yes         KNOWiNK ' s EPBS provides for the specifications of
                                                         this requirements.

    RR-5: Local voter         30             Yes         KNOWiNK ' s EPBS provides for the specifications of
    database replicas.                                   this requirements.

    RR-6: Local voter         30             Yes         The local voter database is consistently replicated in a
    database replica                                     quiescent state.
    consistency.

    RR-7: Operational         30             Yes         Updates are synced across all EPBs within a peer to
    consistency.                                         peer network, and reflect all changes made on any
                                                         particular EPB at that polling place.

    RR-8: Environmental       31             Yes         KNOWiNK's EPB is operable between temperatures
    robustness.                                          ranging from 50°F to 90°F

    SR-1: EPBS must prevent   31             Yes         KNOWiNK ' s EPBS is designed to prevent injury or
    injury or damage.                                    damage to any individual or the hardware.




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         New Hampshire Electronic Poll Books System         Request for Information


Title and Identifier           Page     Compliance:   Comments on Potential Requirement
                               Number   Yes/No
                                                                                                                 IO
SR-2: Isolation from other     31           Yes       KNOWiNK uses a Mobile Device Management System
electronic election systems.                          that provides access to the EPBS system. Only devices
                                                      configured by KNOWiNK will be allowed to access the
                                                      data contained in the EPBS system. Hence our EPBS is
                                                      isolated from all other electronic election systems

SR-3: Restricted access        32           Yes       All data and communications in the EPBS are encrypted
and communications.

SR-4: Eavesdropping            32           Yes       All data and communications in the EPBS are encrypted
attack prevention.

SR-5: Man-in~the-middle        32           Yes       All data and communications in the EPBS are encrypted
attack prevention.

SR-6: Replay attack            32           Yes       All data and communications in the EPBS are encrypted
prevention.

SR-7: Imports restricted       32           Yes       Imports may be restricted to the USB (lightning) port on
to HIR-1 (USB port).                                  the EPB. This would disallow the use of Wi-Fi import
                                                                                                                 0
SR-8: HIR-1 (USB port)         32           Yes       File types imported through the USB (lightning) port on
restrictions.                                         the EPB are restricted to allowable file types only.

SR-9: File format              33           Yes       KNOWiNK's EPBS provides for the specifications of
verification.                                         this requirements.

SR-10: File authenticity       33           Yes       KNOWiNK's EPBS provides for the specifications of
verification.                                         this requirements.

SR-11: Signed exports.         33           Yes       KNOWiNK' s EPBS can be configured to meet the
                                                      specifications ofthis requirement.

SR-12: Use by account          33           Yes       KNOWiNK's EPBS can be configured to meet the
holders only.                                         specifications ofthis requirement.

SR-13: User roles.             33           Yes       KNOWiNK 's EPBS can be configured to meet the
                                                      specifications ofthis requirement.




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            New Hampshire Electronic Poll Books System         Request for Information




c   Title and Identifier          Page
                                  Number
                                           Compliance:
                                           Yes/No
                                                         Comments on Potential Requirement



    SR-14: Access to UI-1         34           Yes       Access requires authorized password authentication on
    (authorized EPBS user                                the EPB.
    interface).

    SR-15: Access to UI-2         34           Yes       Access requires authorized password authentication on
    (configuration interface).                           the EPB.

    SR-16: Access to UI-3         34           Yes       Access requires authorized password authentication on
    (diagnostic interface).                              the EPB.

    SR-17: Access to UI-4         34           Yes       Access requires authorized password authentication on
    (administrative interface).                          the EPB.

    SR-18: Access to UI-5         34           Yes       Access requires authorized password authentication on
    (local voter database).                              the EPB.

    SR-19: File integrity         35           Yes       KNOWiNK's EPBS can be configured to meet the
    verification                                         specifications ofthis requirement.

  SR-20: Tamper evident           35           Yes       Cases are fitted with the necessary hardware to
Q cases.                                                 accommodate a wide variety of locks and tamper
                                                         evident seals used across the election industry.

    UIR-1: Ballot clerk and       19           Yes       Poll Pad provides a broad range of functionality to the
    Supervisor of the                                    Ballot Clerk on Election Day. Functions can be
    checklist interface.                                 password protected to ensure the proper protocols are
                                                         being followed.

    UIR-2: Configuration          19           Yes       KNOWiNK ' s EPBS can be configured to meet the
    interface.                                           specifications of this requirement.

    UIR-3: Diagnostic             19           Yes       KNOWiNK's EPBS can be configured to meet the
    interface.                                           specifications of this requirement.

    UIR-4: Administrative         20           Yes       KNOWiNK ' s EPBS can be configured to meet the
    interface.                                           specifications of this requirement.

    UIR-5: Local voter            20           Yes       KNOWiNK's EPBS can be configured to meet the
    database interface.                                  specifications of this requirement.




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        New Hampshire Electronic Poll Books System          Request for Information


Title and Identifier      Page   Compliance:         Comments on Potential Requirement
                          Number Yes/No                                                                           10
UR-1: Ease of use.        37             Yes         Poll Pad is easy to use, easy to set up, and easy to train
                                                     on!




                                                                                                     54
                                                    RFI -Supplemental Potential Requirements
                                                                    March 20, 2017                                                                        I
                                                                                                                                                          I
                                                                                                                                                          !


Title and Identifier                                 Page         Compliance   Comments on Potential Requirement                                          I

                                                     Number       Yes/No

NH -1: Add new voters resulting from Election         9, 10, 11   Yes          EPBS accommodates this and has already done so in a live election .
Day Registration to EPBS


NH -2: Extend simultaneous electronic poll            9, 10, 11   Yes          Cloud and Cradlepoint will accommodate this . If no cloud, w ill require
books processes for voter intake over a                                        additional hardware at the polling place.
distance of X feet.    X=

                                          70 feet

                                       100 feet                   Yes          Cloud and Cradlepoint will accommodate th is. If no cloud, will require
                                                                               additional hardware at the polling place .
                                       150 feet
                                                                  Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
                                                                               additional hardware at the polling place .

NH -3: Extend electronic poll books processes         9, 10, 11   Yes          Cloud and Cradlepoint will accommodate this. If no cloud, will require
in include voter registration . Add to the above                               additional hardware at the polling place .
distances:

                                          30 feet
                                                                  Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
                                          70 feet                              additional hardware at the polling place.

                                       100 feet                   Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
                                                                               additional hardware at the polling place.


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Title and Identifier                               Page     Compliance   Comments on Potential Requirement
                                                   Number   Yes/No




NH-4: Integrate return-to-undeclared activity               Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
in State Primaries: Add to the above                                     additional hardware at the polling place.
distances :
                                                                         This can also be accommodated by a process on the EPB where the party
                                         30 feet                         change is performed. This is not necessary as a separate station .

                                         50 feet            Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
                                                                         additional hardware at the polling place.
                                         70 feet
                                                                         This can also be accommodated by a process on the EPB where the party
                                                                         change is performed . This is not necessary as a separate station .

                                                            Yes          Cloud and Cradlepoint will accommodate this. If no cloud, will require
                                                                         additional hardware at the polling place.

                                                                         This can also be accommodated by a process on the EPB where the party
                                                                         change is performed . This is not necessary as a separate station .

NH -5: Integrate address change by ballot cle rk      9     Yes          EPBS supports address and name change.
at voter intake.




                                                                     2
NH-6: Support quick transition to back-up EPB     9, 10,11    Yes          EPB can be customized to filter based on first letter of last name .
process in event of mid-day synchronization
or connectivity failure. Transition might be to
previously-used process whereby voters line
up opposite discrete alpha letters, e.g. A-C, D
- G, H- M, etc. EPBs would be used at voter
check-in but would not be synchronized until
a much later time in the day. EPBs would not
be used at voter registration .

Title and Identifier                               Page       Compliance   Comments on Potential Requirement
                                                  Number      Yes/No



AR-1(A): In general elections, to       15 EPBs   9, 10, 11   Yes          Peer to peer is capable of supporting up to 15 EPBs
accommodate each voter
registration station,                                         Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
synchronization of additional           20 EPBs                            additional hardware at the polling place.
electronic poll pads,
and connectivity thereof,                                     Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
capacity in single                      25 EPBs                            additional hardware at the polling place .
polling place for up to:
                                                              Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
                                        30 EPBs
                                                                           additional hardware at the polling place.

                                                              Yes          Cloud and Cradlepoint will accommodate this . If no cloud, will require
                                        35 EPBs                            additional hardware at the polling place .

                                                              Yes          Cloud and Cradlepoint will accommodate this. If no cloud, will require
                                                                           additional hardware at the polling place .
                                        40 EPBs



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FR-8(A): Fulfill NH's Ballot Clerk Procedure,      9, 12   Yes          Voters that leave the line in the middle of the process are marked
enabling voter to give name and be checked                              Pending and may be resumed on another EPB in the network.
off, then leave the line in middle of check-in
process so that voter can obtain Challenged
Voter Affidavit. Voter then returns to another
line, finishes the process, picks up a ballot,
and EPB name reflects voter has voted .

FR-13(B) Enable entry of 2-character state         9, 12   Yes          EPBS supports all 50 state abbreviations.
abbreviations from a known list of 2-letter
state abbreviations.

Title and Identifier                               Page    Compliance   Comments on Potential Requirement
                                                  Number   Yes/No


Tech -1:Connectivity: Describe combination of       9      Yes          The EPBS uses peer to peer to communicate between EPBs at the polling
router, hotspot, Bluetooth, Wi-fi, hard-wiring,                         place. Peer to peer uses a combination of Bluetooth and Wi-Fi radios to
etc. Please comment on single point of failure                          communicate within the network. Each EPB has the ability to
risk.                                                                   communicate with any EPB in the network, so if one EPB or one network
                                                                        service (Biuetooth or Wi-Fi) goes down, the system will continue to
                                                                        function .

Tech -2: Customizability: Requires/does not                Yes          The EPBS is fully customizable by the end user and does not require a
require a development team to customize.                                development team to do so.

Tech -3: Support Model : Supports different                Yes          iOS is main platform. Android and Windows are also supported .
                                                                                                                                             :;]
EPB operating systems, including iOS, Palm
Pilot, Android, Windows, etc.

Gen -1: Customer Retention: Identify any                   Yes          KNOWiNK has retained all customers .
customers that have not been retained and
the reason .


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                              ~ knOWINK
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